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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


 UNITED STATES OF A14ERICA             Crim. No. 2:11-cr-000815-CCC
            v.
 Jose Lopez-Rodriguez                  ORDER FOR CONTINUANCE




            This matter having come before the Court on the joint
 application of Paul W. Laymon, Trial Attorney, Narcotic and
 Dangerous Drug Section, Department of Justice, and defendant Jose

 Lopez-Rodriguez, by Kevin Carlucci; Esq., AFPD, for an order

 granting a continuance of the proceedings in the aboye-captioned
 matter for a period of 60 days to allow the· parties to conduct
 plea negotiations and attempt to finalize a plea agreeplent, so

 that the parties may attempt ~o resolve the matter and thereby
 avoid a possible trial, and the defendant having consented to the
 continuance and waived his right to a speedy trial, and for good
 cause shown,

            IT IS THE FINDING OF THI~ COURT that this action should

 be continued for the following reasons:
            (~)The   parties.desire additional time to continue to

 negotiate a plea agreement, which if successful would render a
 trial in this matter unnecessary;
            (2} Defendant Lopez-Rodriguez's co-defendant, who was

 in custody in the Southern District of California awaiting
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            disposition of his identity hearing and transportation to the
            District of New Jersey, and who arrived in the District of New
            Jersey on February 6, 2012', and initially appeared on February 8,
            and pursuant to Title 18, United States Code, Section 316l(h) (6),
            a reasonable period of delay is permitted when the defendant is
            joined for trial with a co-defendant as to whom the time for
        . 't;"rial has not run arid. no mof.fon .for severance has been granted;' ~ . ~
            see also, Title 18, United States Code, Section 316l(h) (l) (E) and

            (F), excluding delay attributable to removal or transportation of

            any defendant; and,
                           (3) Pursuant to Title 18, United States Code, Section
            3161(h) (7), the ends of justice served by granting the
            continuance outweigh the best interests of the public and the

            defendant in a speedy trial,                             ~

                           IT IS, therefore, on this             1jO day of March,          2012,

                           ORDERED that this action be and hereby is continued for

            a period of 60 days from the date of.this Order; and it is

            further
                           ORDERED that the period o~ 60 days from the date of·
-·--~-------M---this•. .Order__ shall-.. be_,excluded....in__c.omputing . ._time_under___ the ___S.peedy,:_"--   .

            Trial Act of 1974.
                                                                       C.
                                                        HON. Claire M. Cecchi
                                                        United States District Court Judge
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Form             consented to:
